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 Phone (919) 645-1700                                                                                 Julie Richards
 Fax (919) 645-1750 ·                    United States District Court                                      Johnston
                                       Eastern District of North Carolina                             Clerk of Court

                                              Office of the Clerk
                                                          PO Box 25670
                                                         Raleigh, NC 27611

                                                           April29, 2016

Robert Allensworth
#Bl4522
251 N IL-37
Ina, IL 62846-2419


           Re: 5:15-cv-156-D and 5:13-cv-607-D


Dear Mr. Allensworth:

           The court is in receipt of your recent letter in the above-referenced matters.

        The docket sheets are 15 and 18 pages long, respectively. They come to a total of $16.50, based on
the Judicial Conference rate of$0.50/page. Please make your certified checlfor money order in the amount
of$16.50, payable to Clerk, U. S. District Court and mail it to the address above, attention: Shannon Proctor.
Please be sure to include your name, case number, documents~-you are. re!J.ues~ing, and the address
where you would like the copies sent.

           If this office can be of further assistance to Y,OU, please do not hesitate to contact us ..


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                                                                      Court Operations Specialist

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